Case 1:17-cv-01229-RGA Document 28 Filed 07/24/18 Page 1 of 1 PageID #: 201




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 JEFFREY FOLK,                                       )

                        Plaintiff,                   ~                           {<.6A
        v.                                           ) C.A. No.: 1:17-cv-01229 (V,1C)(SRF)
                                                     )
 ASSET RECOVERY SOLUTIONS, LLC,                      )
                                                     )
                        Defendant.                   )

              STIPULATION OF DISMISSAL PURSUANT TO RULE 41{a)


        It is hereby stipulated by and between the parties that the above-captioned action be

dismissed with prejudice. The action shall be and hereby is dismissed with prejudice and

without costs to either party, and a judgment of dismissal with prejudice may be entered in the

case.


LAW OFFICE OF MARY HIGGINS LLC                       COOCH and TAYLOR, P.A.

ls/Mary Higgins                                      Isl Blake A. Bennett
Mary Higgins, Esquire (ID#: 4179)                    Blake A. Bennett, Esquire (#5133)
Mary Anne McLane Detweiler, (ID#: 3415)              The Brandywine Building
Commonwealth Building, Suite 201                     1000 West Street, 10th Floor
260 Chapman Road                                     Wilmington, DE 19801
Newark, DE 19702                                     Telephone: (302) 984-3800
(ph) 302-894-4357                                    bbennett@ccochtay lor .com
Mary.higgins@letsbelegal.com                         Attorney for Defendant Asset
Attorney for Plaintiff Jeffrey Folk                  Recovery Solutions LLC

Dated: July 12, 2018                                 Dated: July 12, 2018




                                                                                                  ~'-~: ..
